Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 1 of 80 PageID 347
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 2 of 80 PageID 348
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 3 of 80 PageID 349
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 4 of 80 PageID 350
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 5 of 80 PageID 351
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 6 of 80 PageID 352
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 7 of 80 PageID 353
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 8 of 80 PageID 354
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 9 of 80 PageID 355
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 10 of 80 PageID 356
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 11 of 80 PageID 357
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 12 of 80 PageID 358
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 13 of 80 PageID 359
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 14 of 80 PageID 360
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 15 of 80 PageID 361
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 16 of 80 PageID 362
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 17 of 80 PageID 363
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 18 of 80 PageID 364
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 19 of 80 PageID 365
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 20 of 80 PageID 366
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 21 of 80 PageID 367
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 22 of 80 PageID 368
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 23 of 80 PageID 369
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 24 of 80 PageID 370
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 25 of 80 PageID 371
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 26 of 80 PageID 372
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 27 of 80 PageID 373
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 28 of 80 PageID 374
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 29 of 80 PageID 375
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 30 of 80 PageID 376
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 31 of 80 PageID 377
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 32 of 80 PageID 378
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 33 of 80 PageID 379
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 34 of 80 PageID 380
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 35 of 80 PageID 381
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 36 of 80 PageID 382
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 37 of 80 PageID 383
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 38 of 80 PageID 384
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 39 of 80 PageID 385
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 40 of 80 PageID 386
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 41 of 80 PageID 387
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 42 of 80 PageID 388
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 43 of 80 PageID 389
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 44 of 80 PageID 390
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 45 of 80 PageID 391
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 46 of 80 PageID 392
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 47 of 80 PageID 393
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 48 of 80 PageID 394
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 49 of 80 PageID 395
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 50 of 80 PageID 396
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 51 of 80 PageID 397
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 52 of 80 PageID 398
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 53 of 80 PageID 399
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 54 of 80 PageID 400
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 55 of 80 PageID 401
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 56 of 80 PageID 402
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 57 of 80 PageID 403
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 58 of 80 PageID 404
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 59 of 80 PageID 405
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 60 of 80 PageID 406
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 61 of 80 PageID 407
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 62 of 80 PageID 408
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 63 of 80 PageID 409
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 64 of 80 PageID 410
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 65 of 80 PageID 411
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 66 of 80 PageID 412
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 67 of 80 PageID 413
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 68 of 80 PageID 414
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 69 of 80 PageID 415
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 70 of 80 PageID 416
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 71 of 80 PageID 417
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 72 of 80 PageID 418
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 73 of 80 PageID 419
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 74 of 80 PageID 420
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 75 of 80 PageID 421
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 76 of 80 PageID 422
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 77 of 80 PageID 423
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 78 of 80 PageID 424
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 79 of 80 PageID 425
Case 2:18-cv-00017-JES-MRM Document 51 Filed 05/02/18 Page 80 of 80 PageID 426
